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(U) CERTIFICATE OF COMPLIANCE

(U) 1. The government’s briefs in this case comply with the type-volume
limitation set forth in the Court’s order of March 30, 2023, because they contain a
total of 17,892 words; this brief and the classified addendum contain 12,753 words,
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(U) 2. This brief complies with the typeface requirements of Fed. R.
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VIRGINIA M/ VANDER JAGT
Appeilate Céunsel

National Security Division

U.S. Department of Justice

Dated: June 28, 2023

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IN THE UNITED STATES COURT OF APPEALS
FOR THE NINTH CIRCUIT

UNITED STATES OF AMERICA, APPELLEE,
¥.
IMAAD SHAH ZUBERI, DEFENDANT-APPELLANT.

ON APPEAL FROM THE UNITED STATES DISTRICT COURT
FOR THE CENTRAL DISTRICT OF CALIFORNIA
D. CT. No. 19-CR-00642 (HON. VIRGINIA A, PHILLIPS)

GOVERNMENT’S SUPPLEMENT TO DEFENDANT’S
CLASSIFIED EXCERPTS OF RECORD
VOLUME 1 OF 2

E. MARTIN ESTRADA
United States Attorney
Central District of California

BRAM M. ALDEN

Chief, Criminal Appeals Section
ELISA FERNANDEZ

Assistant U.S. Attorney

1500 United States Courthouse
312 North Spring Street

Los Angeles, CA 90012

MATTHEW G. OLSEN
Assistant Attorney General for

. National Security

EVAN N. TURGEON

Acting Deputy Chief
VIRGINIA M. VANDER JAGT
Appellate Attorney

National Security Division
U.S. Department of Justice
950 Pennsylvania Ave., NW
Washington, DC 20530
Telephone: (202) 616-0741
Virginia. Vanderjagt@usdoj.gov
Attorneys for Appellee
UNITED STATES OF AMERICA
